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                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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        UNITED STATES OF AMERICA,                             CASE NO. CR22-001 TL
11
                                Plaintiff,                    ORDER ON MOTION FOR REVIEW OF
12              v.                                            DETENTION ORDER
13      SHABNAM DAWN PILISUK,
14                              Defendant.

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16          This matter comes before the Court on Defendant’s Motion for Review of Detention

17   Order (Dkt. No. 35). Defendant asks the Court for a de novo review, to set a detention hearing,

18   and to allow briefing to be submitted prior to the hearing. Id. at 2. However, the motion is where

19   any grounds for relief should be set forth. As a general rule, facts or arguments must be

20   contained in the moving papers and may not be raised for the first time in a reply brief. See

21   Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir. 2007) (citing Koerner v. Grigas, 328 F.3d 1039,

22   1048 (9th Cir. 2003) (affirming district court after it declined to consider an argument raised for

23   the first time in reply)). See also United States of America v. Barnes, No. CR18-5141, 2019 WL

24   2515317, at *3 (W.D. Wash. June 18, 2019), aff'd on other grounds, No. 20-30059, 2021 WL


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 1   4938126 (9th Cir. Oct. 22, 2021). Stating the grounds in the moving papers provides the non-

 2   moving party an opportunity to respond to arguments raised and prevents sandbagging. See

 3   Karpenski v. Am. Gen. Life Cos., LLC, 999 F. Supp. 2d 1218, 1227 (W.D. Wash. 2014). It also

 4   provides the Court with the information needed to determine whether a hearing is appropriate

 5   and, if so, the length of time that might be appropriate.

 6          As pled, Defendant’s motion provides insufficient grounds to grant any relief. Therefore,

 7   the Court DENIES the motion without prejudice.

 8          Dated this 12th day of April 2022.

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                                                           Tana Lin
11                                                         United States District Judge

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     ORDER ON MOTION FOR REVIEW OF DETENTION ORDER - 2
